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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

ROBERT T. BROCKMAN,                      §
                                         §
             Plaintiff,                  §
                                         §
             v.                          §       Civil Action No. 4:22-cv-00202-GCH
                                         §
UNITED STATES OF AMERICA,                §
                                         §
             Defendant.                  §

           August 12, 2022 DECLARATION OF KATHRYN KENEALLY

      I, Kathryn Keneally, declare as follows:

      1.     I am a member of the bar of the State of New York. I am a partner of the

law firm Jones Day, counsel for Plaintiff Robert T. Brockman. I make this Declaration in

support of Plaintiff Robert T. Brockman’s Third Supplemental Memorandum in Support

of Motion for Determination on Complaint for Judicial Review and Abatement of

Jeopardy Assessment.

      2.     Attached hereto as Exhibit A is a copy of an Internal Revenue Service

Account Transcript for Robert T. Brockman’s Form 1040 for his tax period ending

December 31, 2004. This exhibit attached hereto has been redacted in compliance with

Federal Rule of Civil Procedure 5.2.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed in New York, New York on August 12, 2022.

                                                 /s/ Kathryn Keneally
                                                 Kathryn Keneally
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                            Exhibit A
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                                          Account 66-2
                                                  TranscriptFiled on 08/12/22    in TXSD
                                                                       1040 Dec. 31, 2004 BROCPage 3 of 6

     IRS Logo
                                          This Product Contains Sensitive Taxpayer Data


                                             Account Transcript
                                                                                  Request Date         08 05 2022
                                                                                 Response Date:        08-05-2022
                                                                               Tracking Number

   FORM NUMBER:              1040
   TAX PERIOD:               Dec. 31, 2004


   TAXPAYER IDENTIFICATION NUMBER:
   SPOUSE TAXPAYER IDENTIFICATION NUMBER:

   ROBE T BROC




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                                                  TranscriptFiled on 08/12/22    in TXSD
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    670       Payment                                                            11-17-2021         -$500,044.98
              Levy

    670       Payment                                                            11-24-2021         -$251,061.82
              Levy




    670       Payment                                                            12-08-2021       -$1,998,402.54
              Levy

    670       Payment                                                            12-08-2021          -$46,462.18
              Levy

    670       Payment                                                            12-15-2021       -$1,000,041.54
              Levy

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    670       Payment                                                            12-15-2021          -$21,500.89
              Levy

    670       Payment                                                            12-22-2021          -$45,981.54
              Levy

    670       Payment                                                            12-22-2021         -$518,552.14
              Levy

    670       Payment                                                            01-19-2022         -$623,432.28
              Levy



    670       Payment                                                            02-18-2022         -$630,746.27
              Levy

    670       Payment                                                            03-23-2022         -$630,746.28
              Levy




    670       Payment                                                            04-11-2022         -$630,746.28
              Levy

    670       Payment                                                            05-06-2022     -$27,020,546.54
              Levy

    670       Payment                                                            05-18-2022         -$630,746.27
              Levy

    670       Payment                                                            05-25-2022           -$3,332.80
              Levy

    670       Payment                                                            05-26-2022         -$169,816.50
              Levy

    670       Payment                                                            06-16-2022           -$1,250.17
              Levy

    670       Payment                                                            06-22-2022         -$630,746.28
              Levy

    670       Payment                                                            06-23-2022           -$3,332.80
              Levy



    670       Payment                                                            07 14 2022           $16,588 05
              Levy

    670       Payment                                                            07 19 2022          $630,746 28
              Levy

    670       Payment                                                            07 26 2022            $3,332 80
              Levy
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